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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:02CR353
                                                )
                 Plaintiff,                     )
                                                )                MEMORANDUM
                 vs.                            )                 AND ORDER
                                                )
TONY SKANNELL,                                  )
                                                )
                 Defendant.                     )

       This matter is before the Court on the motion filed by the Defendant, Tony Skannell,

to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (“§ 2255

motion”) (Filing No. 718).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

                                  FACTUAL BACKGROUND

       Skannell was found guilty after a jury trial of conspiring to distribute or possess with

intent to distribute 50 grams or more of a mixture or substance containing cocaine base.

An Information of Prior Conviction had been timely filed under 21 U.S.C. § 851, listing one

prior conviction.1 Skannell’s Second Presentence Investigation Report (“PSR”) placed him



       1
           This conviction is set out in ¶ 73 of the Second Presentence Investigation Report.
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in a sentencing guideline range of 360 months to life, based on a total offense level of 37

and placement in criminal history category VI. Skannell was found to be a career offender,

based on prior convictions for rape (PSR, ¶ 74) and attempted second degree robbery

(PSR, ¶ 76). Defense counsel objected to Skannell’s career offender status based on the

timeliness of the filing of the Information of Prior Conviction and under Blakely v.

Washington, 542 U.S. 296 (2004). Those objections were denied, and Skannell was

sentenced to 360 months imprisonment.

       On direct appeal, the Eighth Circuit Court of Appeals remanded Skannell’s case for

resentencing under United States v. Booker, 543 U.S. 220 (2005), “using the career

offender 360 to life range as the correctly determined advisory Guidelines range.”2 (Filing

No. 552, at 39.) However, the Eighth Circuit concluded that Skannell’s § 851 challenge

was moot given his career offender status. Skannell was resentenced to 360 months

imprisonment. Skannell filed a direct appeal. In a per curiam opinion, the Eighth Circuit

determined that Skannell’s arguments regarding his career offender status and the § 851

Information were “foreclosed by [its] decision in his prior appeal.” (Filing No. 660, at 1.)

The Eighth Circuit rejected Skannell’s additional arguments and affirmed his sentence.

The U.S. Supreme Court denied Skannell’s petition for a writ of certiorari. Skannell timely

filed his § 2255 motion.




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        Sentencing was on October 18, 2004. Booker was decided on January 12, 2005.
The Eighth Circuit, in its post-Booker opinion, noted that this Court did not have the benefit
of the Booker decision at the time of sentencing and therefore sentenced Skannell under
the mandatory guidelines.

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                                       DISCUSSION

       In his § 2255 motion, Skannell argues that he received ineffective assistance of

counsel because his trial attorney, Phillip G. Wright, failed to argue at sentencing that his

two prior convictions were invalid for purposes of U.S.S.G. § 4B1.1, the career offender

guideline. Skannell argues that the attempted second degree robbery conviction listed in

¶ 76 of the PSR was not a “crime of violence” under § 4B1.1 and that his rape case

described in ¶ 74 of the PSR was more than 15 years old and should not have been

counted.

       In order to establish ineffective assistance of counsel, Skannell must satisfy both

prongs of the test articulated by the United States Supreme Court in Strickland v.

Washington, 466 U.S. 668 (1984). The performance prong requires a showing that

counsel performed outside the wide range of reasonable professional assistance and

made errors so serious that counsel failed to function as the kind of counsel guaranteed

by the Sixth Amendment. Id. at 687-89. The prejudice prong requires a movant to

demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.

¶ 76 - Attempted Second Degree Robbery; Crime of Violence

       U.S.S.G. § 4B1.1 requires that a career offender’s instant case be a felony crime

of violence or a felony controlled substance offense and also that the defendant have two

prior felony convictions for either a crime of violence or relating to controlled substances.




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       The commission of the instant offense must follow the prior convictions. U.S.S.G.

§ 4B1.2(c). A “crime of violence” is defined as an offense punishable by more than 1 year

imprisonment that:

       (1)    has an element the use, attempted use, or threatened use of physical
              force against the person of another, or

       (2)    is burglary of a dwelling, arson, or extortion, involves use of
              explosives, or otherwise involves conduct that presents a serious
              potential risk of physical injury to another.

U.S.S.G. § 4B1.2(a).

       An “attempt” to commit an offense is included in the definition of a crime of violence.

U.S.S.G. § 4B1.2 application n. 1. That definition specifically includes crime of “robbery.”

Id.

       Skannell’s argument that his counsel was ineffective for failing to object to his

attempted second degree robbery offense as a predicate offense for his career offender

status is baseless. The language of the sentencing guidelines and their application notes

clearly identifies this prior conviction as a “crime of violence” for purposes of § 4B1.1.

¶ 74 - Rape; 15-Year Time Period

       Skannell argues that his prior rape conviction preceded his instant offense by more

than 15 years and therefore cannot qualify as a crime of violence for purposes of § 4B1.1.

A prior conviction is counted if the sentence for that conviction was imposed within 15

years of a defendant’s commencement of the instant offense. U.S.S.G. § 4A1.2(e)(1).

Skannell was sentenced for the rape conviction on January 13, 1982. He violated parole

twice in 1987 and served two additional terms of imprisonment for those violations.

Skannell was last sentenced on October 13, 1987. Skannell became involved in the


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conspiracy from approximately December of 2000. (PSR, ¶ 47.) Therefore, clearly his

parole violations bring his rape conviction within the 15-year period of his commencement

in the instant offense. See United States v. Montaque, 221 F.3d 1345, at *1 (8th Cir. 2000)

(any earlier sentence relating to a prior conviction may bring that conviction within the 15-

year period).

                                       CONCLUSION

       The record clearly shows that Skannell is not entitled to relief. Because Skannell

cannot succeed on his underlying arguments regarding his career offender status, he

cannot prove either prong of the Strickland test. Under Rule 4(b), his § 2255 motion must

be summarily denied.

       IT IS ORDERED:

       1.       The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 718);

       2.       Upon initial review, the Court summarily denies the Defendant's claims raised

in the § 2255 motion, and the motion (Filing No. 718) is summarily denied;

       3.       A separate Judgment will be issued denying the § 2255 motion; and

       4.       The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

       DATED this 13th day of October, 2009.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge



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